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                  EXHIBIT 5
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   On Friday, March 1, 2019 8:51 AM, Jeff Schoep <jeffschoep@gmail.com> wrote:


   Dear Judge Hoppe:



   I am writing this email ahead of the telephonic hearing scheduled for today at 10 AM,
   which I will be in attendance. There are several matters which I would like to clarify.
   I am putting these into writing to ensure that I do not forget to address any of the
   matters which the court or plaintiffs are concerned regarding my involvement or
   lack thereof.

   In regards to the plaintiffs’ motion for rule 37 sanctions against Jeff Schoep.




   1.     Exhibit #3 shows that I responded to plaintiffs’ interrogatories in July, 2018. I
   provided my phone number, email address, and social media accounts. The
   plaintiffs’ request for sanctions incorrectly asserts that they have received zero
   cooperation from me, and I can and will prove this to be false. I respectfully request
   a reasonable amount of time to produce proof of my cooperation, and ask the court
   to refrain from sanctioning me. In addition, since I no longer am represented by Mr.
   Kolenich, I request a continuance of this matter so that I may retain new
   counsel.




   1.     I have emails between myself and my former Attorney, Mr. Kolenich, from
   December 4 to December 7, 2018 confirming that I authorized Mr. Kolenich to sign
   off on the third party vendor contract. I also explained about my phone, what phone
   company I use, the type of phone, etc. Mr. Kolenich responded back to my emails and
   said he would let me know if anything further was needed. After December 7, I did
   not hear anything about more information being needed, nor anything else. Due to
   this and other ongoing communication issues, I terminated my relationship with Mr.
   Kolenich and am now seeking new counsel.
   2.     Apart from the initial complaint, the various exhibits submitted by the
   plaintiffs – which I only received last week after filing my pro se motion – are
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   literally the only materials I have ever seen regarding this case. Before hiring legal
   counsel, I received notifications from the court on every motion and could see what
   was happening. Since hiring Mr. Kolenich, I have spoken to him a few times, and
   responded to his requests by email. Not once have I received or viewed any of the
   documents that have been coming in from the plaintiffs until the past 8 or 9 days,
   and most of which came only 2 days ago. I am still pouring through hundreds of
   pages of documents with no assistance of any kind.
   3.     On February 17, 2019 Due to my ongoing frustrations over poor
   communication, I informed Mr. Kolenich that I no longer required his services and
   filed a motion to represent myself pro se. In truth, I am out of my depth and very
   much need a competent and communicative attorney. Court records from the
   plaintiffs (Exhibit 9 Document 432-9) clearly show that on February 16, 2019, Mr.
   Kolenich asked Jennifer Brennan of idsinc.com to remove my name from the
   docu-sign agreement since he no longer represented me. I agreed to sign off back in
   early December 2018, and on February 16, one day before I informed my former
   Attorney that I was no longer in need of his services, he does not sign off for me
   months later. I have the saved emails, and the time lines do not match up. How can
   an Attorney who had not yet been officially removed by me, refuse to honor my
   signature that I agreed to back in early December a day before I officially fired him?
   The court did not even receive my motion until Tuesday, February 19th.
   4.     I bring these matters to the Court’s attention not to impute the reputation of
   my former attorney; however, I believe it is reasonable for me to have counsel who
   keeps me informed and works with me to make certain I am correctly complying
   with the court’s orders. Since this situation has caused the plaintiffs to file a Rule 37
   motion against me for sanctions, I believe my requests and concerns are reasonable.
   If the court requires the aforementioned email communications between myself and
   Mr. Kolenich to prove the truth of my assertions, I will provide them at the request
   of Judge Hoppe.
   5.     The plaintiffs are correct that I have not answered their emails over the past
   week. I am overwhelmed with the massive amount of paperwork being submitted
   and have spent the last 2 days and nights reading and trying to figure out exactly
   how to respond and still have not finished reading even 1/4 of what is going on in
   this case.
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   Wherefore, I respectfully pray this honorable court grant a continuance so that I
   may retain a new attorney. Despite my heartfelt belief that neither I personally or
   NSM as an organization are     responsible for the independent, illegal, and violent
   actions of persons who are not and have never been a part of our organization, and
   the fact that we were merely exercising our 1st Amendment right to free speech, I
   fear that losing this lawsuit, however frivolous, will be a forgone conclusions if I do
   not retain competent representation.




   Respectfully,




   Jeff Schoep
